                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA ex rel.          )
JEFFREY H. LIEBMAN and DAVID M.           )
STERN, M.D.,                              )                   Case No.: 3:17-cv-00902
                                          )
        Plaintiff-Relators,               )                   JUDGE CAMPBELL
                                          )                   MAGISTRATE JUDGE HOLMES
              v.                          )
                                          )
METHODIST LE BONHEUR HEALTHCARE           )
and METHODIST HEALTHCARE-MEMPHIS          )
HOSPITALS,                                )
                                          )
        Defendants.                       )
__________________________________________)

                     DECLARATION OF MICHAEL C. DOUGHERTY

        I, Michael C. Dougherty, declare under penalty of perjury that the following statements
are true and correct:
        1.     My name is Michael C. Dougherty. I am over 21 years of age, and I am competent
to make this declaration. My statements in this declaration are based on information personally
known to me or conveyed to me by the Office of Counsel to the Inspector General (OCIG) of the
United States Department of Health and Human Services (HHS). I am the Office 365 Lead
Engineer for the HHS Office of Inspector General. I have been in this position since March 27,
2022. Before this, I was supporting in a similar service area as a contractor starting around August
of 2020.
        2.     On June 8, 2023, I was asked to run a search of the search terms from Exhibit A
on the email accounts of Lewis Morris, Greg Demske, Martha Talley, Jennifer Michael/Williams,
Kevin Barry, Karen Glassman, and Keisha Thompson for the time-period from January 1, 2011,
through December 31, 2018. This search resulted in 93,801 items.
        3.     On May 17, 2023, a similar search of the email accounts of Lisa Re, Dan Levinson,
Tamar Terzian, and Katie Arnholt returned 123,068 items. Twenty OCIG attorneys reviewed
those items over 306 hours in a nine-day time-period and found no responsive documents.

                                              Dated, this 13th day of June, 2023
                                                                        Digitally signed by
                                              MICHAEL                   MICHAEL DOUGHERTY
                                                                        Date: 2023.06.13
                                              DOUGHERTY                 11:30:20 -04'00'
                                              ________________________________________
                                              Michael C. Dougherty



Case 3:17-cv-00902        Document 417         Filed 06/15/23      Page 1 of 4 PageID #: 13134
                                       Exhibit A

(Foley NEAR(100) presentation* OR Foley NEAR(100) conference* OR Foley NEAR(100)
seminar* OR Foley NEAR(100) meeting* OR Foley NEAR(100) event* OR Blau* NEAR(100)
presentation* OR Blau* NEAR(100) conference* OR Blau* NEAR(100) seminar* OR Blau*
NEAR(100) meeting* OR Blau* NEAR(100) event* OR "professional service* agreement*"
NEAR(100) presentation* OR "professional service* agreement*" NEAR(100) conference* OR
"professional service* agreement*" NEAR(100) seminar* OR "professional service*
agreement*" NEAR(100) meeting* OR "professional service* agreement*" NEAR(100) event*
OR "PSA" NEAR(100) presentation* OR "PSA" NEAR(100) conference* OR "PSA"
NEAR(100) seminar* OR "PSA" NEAR(100) meeting* OR "PSA" NEAR(100) event* OR "co-
management" NEAR(100) presentation* OR "co-management" NEAR(100) conference* OR
"co-management" NEAR(100) seminar* OR "co-management" NEAR(100) meeting* OR "co-
management" NEAR(100) event* OR "co management" NEAR(100) presentation* OR "co
management" NEAR(100) conference* OR "co management" NEAR(100) seminar* OR "co
management" NEAR(100) meeting* OR "co management" NEAR(100) event* OR
"management service* agreement*" NEAR(100) presentation* OR "management service*
agreement*" NEAR(100) conference* OR "management service* agreement*" NEAR(100)
seminar* OR "management service* agreement*" NEAR(100) meeting* OR "management
service* agreement*" NEAR(100) event* OR "MSA" NEAR(100) presentation* OR "MSA"
NEAR(100) conference* OR "MSA" NEAR(100) seminar* OR "MSA" NEAR(100) meeting*
OR "MSA" NEAR(100) event* OR "asset* purchase*" NEAR(100) presentation* OR "asset*
purchase*" NEAR(100) conference* OR "asset* purchase*" NEAR(100) seminar* OR "asset*
purchase*" NEAR(100) meeting* OR "asset* purchase*" NEAR(100) event* OR "APA"
NEAR(100) presentation* OR "APA" NEAR(100) conference* OR "APA" NEAR(100)
seminar* OR "APA" NEAR(100) meeting* OR "APA" NEAR(100) event* OR "provider-based"
NEAR(100) presentation* OR "provider-based" NEAR(100) conference* OR "provider-based"
NEAR(100) seminar* OR "provider-based" NEAR(100) meeting* OR "provider-based"
NEAR(100) event* OR "provider based" NEAR(100) presentation* OR "provider based"
NEAR(100) conference* OR "provider based" NEAR(100) seminar* OR "provider based"
NEAR(100) meeting* OR "provider based" NEAR(100) event* OR "leas* employee*"
NEAR(100) presentation* OR "leas* employee*" NEAR(100) conference* OR "leas*
employee*" NEAR(100) seminar* OR "leas* employee*" NEAR(100) meeting* OR "leas*
employee*" NEAR(100) event* OR "LEA" NEAR(100) presentation* OR "LEA" NEAR(100)
conference* OR "LEA" NEAR(100) seminar* OR "LEA" NEAR(100) meeting* OR "LEA"
NEAR(100) event* OR "physician hospital alignment" NEAR(100) presentation* OR "physician
hospital alignment" NEAR(100) conference* OR "physician hospital alignment" NEAR(100)
seminar* OR "physician hospital alignment" NEAR(100) meeting* OR "physician hospital
alignment" NEAR(100) event* OR "physician-hospital alignment" NEAR(100) presentation*
OR "physician-hospital alignment" NEAR(100) conference* OR "physician-hospital alignment"
NEAR(100) seminar* OR "physician-hospital alignment" NEAR(100) meeting* OR "physician-
hospital alignment" NEAR(100) event* OR "physician hospital integration" NEAR(100)
presentation* OR "physician hospital integration" NEAR(100) conference* OR "physician
hospital integration" NEAR(100) seminar* OR "physician hospital integration" NEAR(100)
meeting* OR "physician hospital integration" NEAR(100) event* OR "physician-hospital
integration" NEAR(100) presentation* OR "physician-hospital integration" NEAR(100)



Case 3:17-cv-00902     Document 417      Filed 06/15/23    Page 2 of 4 PageID #: 13135
conference* OR "physician-hospital integration" NEAR(100) seminar* OR "physician-hospital
integration" NEAR(100) meeting* OR "physician-hospital integration" NEAR(100) event* OR
"hospital physician alignment" NEAR(100) presentation* OR "hospital physician alignment"
NEAR(100) conference* OR "hospital physician alignment" NEAR(100) seminar* OR "hospital
physician alignment" NEAR(100) meeting* OR "hospital physician alignment" NEAR(100)
event* OR "hospital-physician alignment" NEAR(100) presentation* OR "hospital-physician
alignment" NEAR(100) conference* OR "hospital-physician alignment" NEAR(100) seminar*
OR "hospital-physician alignment" NEAR(100) meeting* OR "hospital-physician alignment"
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integration" NEAR(100) event* OR "hospital-physician integration" NEAR(100) presentation*
OR "hospital-physician integration" NEAR(100) conference* OR "hospital-physician
integration" NEAR(100) seminar* OR "hospital-physician integration" NEAR(100) meeting*
OR "hospital-physician integration" NEAR(100) event* OR "opinion w/5 12-22" NEAR(100)
presentation* OR "opinion w/5 12-22" NEAR(100) conference* OR "opinion w/5 12-22"
NEAR(100) seminar* OR "opinion w/5 12-22" NEAR(100) meeting* OR "opinion w/5 12-22"
NEAR(100) event* OR "AO w/5 12-22" NEAR(100) presentation* OR "AO w/5 12-22"
NEAR(100) conference* OR "AO w/5 12-22" NEAR(100) seminar* OR "AO w/5 12-22"
NEAR(100) meeting* OR "AO w/5 12-22" NEAR(100) event*)(c:c)(date=2011-01-01..2018-12-
31)




Case 3:17-cv-00902      Document 417      Filed 06/15/23   Page 3 of 4 PageID #: 13136
                                CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2023, a true and correct copy of the foregoing was served
via email to the following:


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Case 3:17-cv-00902        Document 417        Filed 06/15/23     Page 4 of 4 PageID #: 13137
